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 8                                  UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
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12   MOHAMED FODA, M.D., et al.,         )                     Case No.: C 10-80099 JW (PVT)
                                         )
13                     Applicant,        )                     INTERIM ORDER RE APPLICATION FOR
                                         )                     ORDER TO TAKE THIRD PARTY
14         v.                            )                     DISCOVERY VIA SUBPOENA PURSUANT TO
                                         )                     28 U.S.C. § 1782
15   RATEMDS., INC.,                     )
                                         )                     (Re: Docket No. 1)
16                     Respondent,       )
     ___________________________________ )
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18          On April 29, 2010, “Applicants” Mohamed Foda, M.D. and Mohamed Foda, P.C. filed an
19   Application for Order to Take Third Party Discovery via Subpoena Pursuant to 28 U.S.C. § 1782.1
20   Having reviewed the papers submitted by the parties, the court finds it appropriate to issue this
21   interim order. Based on the application and the file herein,
22          IT IS HEREBY ORDERED that, no later than May 25, 2010, the Applicants shall serve a
23   copy of the application, along with a copy of this order a proper notice of motion,2 on every party to
24   the foreign proceedings in connection with which the applicant seeks to use the requested discovery.
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                    The holding of this court is limited to the facts and the particular circumstances
     underlying the present motion.
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                      Judge Trumbull hears law and motion at 10:00 a.m. on Tuesdays. Notice requirements
28   are set forth in Civil Local Rule 7-2(a), and procedures for requesting shortened time, if warranted, are
     set forth in Civil Local Rule 6.
                                                 ORDER, page 1
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 1   See In re Letters Rogatory from Tokyo Dist. Prosecutor's Office, Tokyo, Japan, 16 F.3d 1016, 1020
 2   (9th Cir. 1994) (notice requirements of Federal Rules of Civil Procedure apply to discovery pursuant
 3   to 28 U.S.C. § 1782(a)); see also, FED .R.CIV .PRO . 5(a)(1)(D) (requiring written motions to be served
 4   on every party unless it may be heard ex parte).3 The notice of motion shall expressly identify the
 5   tribunal, title and case number of the foreign proceedings in connection with which the applicant
 6   seeks to use the requested discovery. Applicants shall promptly thereafter file a proof of service.
 7          IT IS FURTHER ORDERED that, along with the application and notice of motion,
 8   Applicants shall file and serve a supplemental brief that addresses the comment posters’ First
 9   Amendment right to anonymous speech. See, e.g., Doe v. 2TheMart.com Inc., 140 F.Supp.2d 1088
10   (W.D. Wash. 2001) (noting that disclosure of a non-party who posts comments on the internet
11   anonymously “is only appropriate in the exceptional case where the compelling need for the
12   discovery sought outweighs the First Amendment rights of the anonymous speaker”); see also, Best
13   Western Intern., Inc. v. Doe, 2006 WL 2091695 (D.Ariz. 2006) and cases cited therein. The
14   supplemental brief shall also address the relevance to the claims or defenses in the foreign
15   proceedings of any deletion of positive comments from RateMDs.com.
16   Dated: 5/10/10
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                                                    PATRICIA V. TRUMBULL
18                                                  United States Magistrate Judge
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                    If the Applicant believes this motion may be heard ex parte, he shall cite to the statute,
     rule or order which permits the use of an ex parte motion to obtain the relief sought. See, CIV .L.R. 7-10.
                                                  ORDER, page 2
